Case 1:11-cv-00538-DKW-BMK Document 25 Filed 04/03/12 Page 1 of 9   PageID.507




 LAW OFFICE OF CARL M. VARADY
 CARL M. VARADY                 4873
 1003 Bishop Street, Suite 1730
 Honolulu, Hawaii 96813
 Tel. 808.523.8447
 Fax. 808.523.8448
 carl@varadylaw.com

 SANFORD WITTELS & HEISLER, LLP
 FELICIA MEDINA                    Cal. Bar No. 255804
 555 Montgomery Street, Suite 1206
 San Francisco, CA 94111
 Tel. 415.391.6900
 Fax. (415) 391-6901
 fmedina@swhlegal.com
 Pro Hac Vice Granted
 Attorneys for Plaintiffs

                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI‘I

 LIANE WILSON and JOANNA                 Case No. CV11-00538 LEK BMK
 WHEELER, on behalf of themselves
 and other females similarly situated,
                                         STIPULATED PROTECTIVE ORDER
             Plaintiffs,
       v.

 WYNDHAM WORLDWIDE
 CORPORATION, WYNDHAM
 VACATION OWNERSHIP, INC.,
 WYNDHAM VACATION RESORTS,
 INC., MICHAEL JONAH, MARK
 POLLARD, TOM VIRAG, DOE
 ENTITIES I through X, and ROE
 BUSINESS ENTITIES I through X,
 inclusive,

            Defendants.
Case 1:11-cv-00538-DKW-BMK Document 25 Filed 04/03/12 Page 2 of 9             PageID.508




                      STIPULATED PROTECTIVE ORDER

               Plaintiffs Liane Wilson and Joanna Wheeler, for themselves and on

 behalf of the class in the above-titled action, and Defendants WYNDHAM

 WORLDWIDE CORPORATION, WYNDHAM VACATION OWNERSHIP,

 INC., WYNDHAM VACATION RESORTS, INC., MICHAEL JONAH, TOM

 VIRAG , and MARK POLLARD (hereafter “Defendants”), by and through their

 respective counsel, hereby stipulate that the following procedures shall govern the

 handling, examination, review and use of confidential material disclosed during

 this case (the “Lawsuit”). The parties to this stipulation represent that they intend

 to use information designated as “confidential” or “proprietary” solely for the

 purpose of litigating this Lawsuit and that they desire and intend to keep such

 information confidential.

               IT IS THEREFORE ORDERED, that documents and information to

 be disclosed during this Lawsuit shall be subject to the following terms and

 conditions:

               1.    A document or information may be designated as

 “Confidential” if the designating party believes in good faith that such document or

 information contains or reflects privileged, confidential, trade secret, commercial

 or proprietary information. All confidential material shall be marked or stamped


                                           -2-
Case 1:11-cv-00538-DKW-BMK Document 25 Filed 04/03/12 Page 3 of 9              PageID.509




 “CONFIDENTIAL” to indicate that the material is Confidential and to ensure that

 counsel, support staff, the parties, consultants, and experts are given notice that

 such documents are to be treated as covered by this Stipulated Protective Order. In

 no event shall the mark, stamp or notation interfere with the legibility of any part

 of the document or thing produced.

              2.     In the event that a party wishes to designate as confidential

 documents or information which were inadvertently produced without having been

 designated as confidential, then the parties may agree to allow such inadvertently

 produced material be deemed confidential and subject to all of the protections of

 this Stipulated Protective Order. If the parties cannot reach agreement on whether

 the inadvertently produced material may be treated as confidential, then the

 inadvertently producing party may petition the Court for a determination as to

 whether the inadvertently produced material shall be treated as confidential

 pursuant to this Stipulated Protective Order.

              3.     All documents or information so designated as confidential, in

 whatever form disclosed, furnished, or submitted, by or on behalf of any party to

 any other party to this action, shall be used solely in connection with pretrial

 proceedings, preparation for trial, trial, or other proceedings in this action,

 including any court filings for this action, but shall not be communicated in any


                                            -3-
Case 1:11-cv-00538-DKW-BMK Document 25 Filed 04/03/12 Page 4 of 9               PageID.510




 other manner, directly or indirectly, to anyone other than a person qualified under

 the terms of this Order or used for any other purpose or other proceeding.

               4.     The term “Confidential” shall be deemed to refer to all

 privileged, confidential, trade secret, commercial or proprietary information and

 supporting documents so designated and produced by any party, and all copies of

 such documents.

               5.     Access to material designated as “Confidential” and to the

 information contained therein (including extracts and summaries derived from such

 materials), shall be restricted to:

               (a)    the attorneys appearing in this action for the present parties and

 non-attorney personnel who are directly employed by those firms and are assisting

 the attorneys working on this action;

               (b)    any parties to the action (or controlling persons of entities who

 are parties to the action) whose assistance is required in the preparation of this

 action for trial and who must have access to the materials to render this assistance;

               (c)    experts or consultants retained in connection with this action,

 and other potential trial witnesses;

               (d)    such other persons as the parties shall agree to in writing, or the

 Court shall determine; and


                                            -4-
Case 1:11-cv-00538-DKW-BMK Document 25 Filed 04/03/12 Page 5 of 9               PageID.511




              (e)    the Court and authorized Court personnel, provided that either

 (1) all documents and information designated as Confidential are filed with the

 Court under seal, after leave of the Court has been obtained as required by Local

 Rule 83.12, which governs sealing of any documents notwithstanding this

 protective order; or (2) the party who designated the documents or information as

 Confidential is given at least twenty-one (21) days written notice of the specific

 Confidential documents or Confidential information the filing party intends to file

 with the Court.

              6.     Each qualified person described in subparagraphs (b), (c), or (d)

 of the preceding paragraph to whom Confidential documents or information are to

 be furnished, shown or disclosed shall first be shown a copy of this Order by the

 disclosing party. All such persons shall be bound by the terms of this Order, and

 shall not permit disclosure of the documents or the information contained therein

 other than pursuant to the terms of this Order; and shall sign the agreement to be

 bound that is attached hereto as Exhibit “A.”

              7.     In the event that the receiving party disagrees with the

 purported confidential nature of any document or other tangible item produced by

 the producing party, the receiving party shall, within fifteen (15) days of receipt,

 inform the producing party’s counsel of this in writing and the producing party


                                           -5-
Case 1:11-cv-00538-DKW-BMK Document 25 Filed 04/03/12 Page 6 of 9               PageID.512




 shall, within fifteen (15) days of such notice, be entitled to file or re-file a Motion

 for Protective Order, tender the disputed documents for in camera review by the

 Court, and provide written details concerning the claimed confidential nature of

 each document so challenged. All parties to this action shall be entitled to

 participate in any in camera document review proceeding, and the producing party

 shall bear the burden of proof to demonstrate that such documents are indeed

 confidential. The parties may mutually consent to extend the fifteen day time

 limitations above.

              A party that designated documents or information as Confidential may

 file a motion with the Court seeking leave to have part or all of another party’s

 filing be sealed when that other party seeks to use or include Confidential

 information in a Court filing. The filing party and any other parties to the case

 shall have seven (7) days to oppose such a motion.

              8.      Any other parties hereafter added to this action shall be bound

 by the terms of this Order.

              9.      This Order is intended to regulate the handling of Confidential

 document(s) and Confidential information during the entire period of this Lawsuit,

 including any appeals. Unless it is modified, superseded or terminated by

 stipulation or order, it shall continue to bind the Parties even after this Lawsuit is


                                            -6-
Case 1:11-cv-00538-DKW-BMK Document 25 Filed 04/03/12 Page 7 of 9            PageID.513




 terminated (whether by judgment, settlement, or otherwise) or remanded to another

 jurisdiction and until all Confidential Documents are returned or destroyed

 pursuant hereto. Nothing herein shall be deemed to waive any Party’s right to seek

 or oppose discovery or object to admission of any evidence.

              10.   By entering into this Stipulation, the parties do not waive any

 privilege that may otherwise obtain; and the parties reserve the right to withhold

 from production documents that are deemed both confidential and privileged, in

 the event such documents are withheld from production, the party withholding

 production shall produce to the requesting party or parties a log of such documents

 withheld. The privilege log shall provide the following information: name and/or

 title of the document, originator/author, date of making, author/sender, recipient(s)

 if any, and general description of the document.

              11.   Any party may apply to the Court for a modification of this

 Order, and nothing in this Order shall be deemed to prejudice any party’s rights to

 seek modification. Production of any document or information designated as

 “Confidential” pursuant to this Order shall not constitute a waiver of any privilege

 or other protection, if any, and such privilege or other protection may later be

 asserted by the producing party without regard to the document’s production.




                                          -7-
Case 1:11-cv-00538-DKW-BMK Document 25 Filed 04/03/12 Page 8 of 9       PageID.514




              DATED: Honolulu, Hawai‘i, April 3, 2012.



 /s/ Carl M. Varady                          /s/ Zachary McNish
 CARL M. VARADY                              ANNA ELENTO SNEED
                                             ZACHARY MCNISH
 Attorney for Plaintiffs                     Attorneys for Wyndham Worldwide
                                             Corporation, Wyndham Vacation
                                             Ownership, Inc., Wyndham Vacation
                                             Resorts, Inc., Michael Jonah and Tom
                                             Virag



 /s/ Wesley M. Fujimoto
 WESLEY M. FUJIMOTO
 Attorney for Mark Pollard



 APPROVED AND SO ORDERED:



                                     /s/ Barry M. Kurren
                                     United States Magistrate Judge
                                     Dated: April 3, 2012




 WILSON, ET A. V. WYNDHAM WORLDWIDE CORP., Case No. CV11-00538 LEK BMK;
 STIPULATED PROTECTIVE ORDER



                                       -8-
Case 1:11-cv-00538-DKW-BMK Document 25 Filed 04/03/12 Page 9 of 9                        PageID.515




                                           EXHIBIT A

    AGREEMENT TO BE BOUND BY TERMS OF STIPULATED PROTECTIVE ORDER

                The undersigned,                                           certifies that I have
 been provided with a copy of the Stipulated Protective Order in the lawsuit Wilson et al., v.
 Wyndham Worldwide Corp. et al., No. CV11-00538 LEK BMK. I have read the terms of the
 Stipulated Protective Order, and I hereby agree to be bound by its terms.

                SIGNED: ____________________________________________

                DATED: Honolulu, Hawai‘i:                                         .




                                                 -9-
